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             IN THE UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                        TAMPA DIVISION
ROSHUNTI McCRAY,

       Plaintiff,                         Case No. : 8:10-CV-2459-T27 AEP
vs.

FEDERAL BOND & COLLECTION
SERVICES, INC.,

      Defendant,
________________________________/

           JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       COME NOW the parties herein, by and through their undersigned counsel, and

would represent to the Court that this matter has been amicably resolved, and would

request entry of an Order dismissing this matter with prejudice, each party to bear their

own costs and attorney’s fees.

This 27th day of April, 2011.                            This 27th day of April, 2011.


  /s/ James Pacitti                                  /s/ Ernest H. Kolmyer, III
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